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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION


JOHN FRALISH, individually and on behalf of                    CASE NO.: 3:22-cv-00059
all similarly situated individuals,

                       Plaintiff,
                                                               COMPLAINT – CLASS ACTION
v.

AMERICAN PROTECTION PLANS, LLC,
d/b/a American Residential Warranty or ARW                    JURY TRIAL DEMANDED

                       Defendant.


                                    CLASS ACTION COMPLAINT

       On behalf of himself and others similarly situated, John Fralish (“Plaintiff”) files this action

against American Protection Plans, LLC (“Defendant”) and states as follows:

                                       I. INTRODUCTION

       1. This case concerns telephone solicitations made by American Protection Plans, LLC

d/b/a American Residential Warranty or ARW (“Defendant”) to telephone numbers registered on

the National Do-Not-Call Registry in violation of the Telephone Consumer Protection Act, 47

U.S.C. § 227 (hereinafter referred to as the “TCPA”).

       2. Defendant made these telephone solicitations in order to sell home warranty plans to

persons with whom Defendant had no established business relationship and who had neither

invited nor gave permission for the calls.

       3. These telephone calls caused real harm, invading the privacy of the recipient, wasting

their time, and trespassing upon their telephone lines.


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        4. Because telemarketing campaigns generally include calls to thousands of potential

customers en masse, Plaintiff brings this action on behalf of a proposed class of similarly persons

who also received telephone solicitations from Defendant despite registering their phone numbers

on the national Do-Not-Call registry.

        5. A class action is the best means of obtaining redress for Defendant’s illegal

telemarketing and is consistent both with the private right of action afforded by the TCPA and the

fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

        6. Plaintiff seeks statutory damages and injunctive relief on behalf of himself and the class

of similarly situated persons described below.

                                  II. JURISDICTION AND VENUE

        7. The Court has jurisdiction over this class action lawsuit under 28 U.S.C. § 1331 and 47

U.S.C. § 227.

        8. Venue in this District is proper because a substantial part of the acts and transactions

giving rise to these claims occurred in this District - Plaintiff received the telephone solicitations

in this District.

                                     III. INTERESTED PARTIES

        9. Plaintiff is a natural person, who resides in St. Joseph County, Indiana.

        10. Defendant is a Florida Limited Liability Company with a principal place of business in

Boca Raton, Florida.

        11. Defendant maintains a registered agent in the state of Indiana, sells home warranty

plans to residents of Indiana, and places telephone solicitations to Indiana residents in order to

make those sales, including the solicitations to Plaintiff that give rise to this action.


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                                          IV. THE TCPA

       12. In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L.

No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

       13. When enacted, the TCPA instructed the Federal Communications Commission (FCC)

to consider establishing a national database of telephone numbers of persons who object to receive

telephone solicitations and to prescribe regulations prohibiting calls to numbers on the database.

47 U.S.C. § 227(c)(3).

       14. In accordance with that statutory directive, the FCC established the national Do-Not-

Call Registry and issued regulations at 47 C.F.R. § 64.1200(c).

       15. The TCPA provides a private right of action to any person who receives more than one

telephone call within a 12-month period in violation of those regulations. 47 U.S.C. § 227(c)(5).

       16. Despite these long standing protections, “robocalls and telemarketing calls are

currently the number one source of consumer complaints at the FCC.” Tom Wheeler, Cutting Off

Robocalls (July 22, 2016), https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls

(statement of FCC chairman).

       17. Similarly, “[t]he FTC receives more complaints about unwanted calls than all other

complaints combined.” Staff of the Federal Trade Commission’s Bureau of Consumer Protection,

In re Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, Notice

of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).


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                  V. FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF

       18. On May 30, 2021, Plaintiff registered his cellular telephone number ending in 5098 on

the National Do-Not-Call Registry.

       19. Plaintiff uses the 5098 number for residential, non-commercial purposes.

       20. On July 18, 2021, Plaintiff received a phone call from Defendant on the 5098 number,

which caused Plaintiff’s caller ID to display 626-412-3449.

       21. Defendant placed this call for the purpose of selling Plaintiff a home warranty.

       22. On July 22, 2021, Plaintiff called the 3449 number in an attempt to determine who had

called him.

       23. Plaintiff’s phone call was answered by an automated system which identified the

company as American Residential Warranty but did not provide an option to speak to a

representative.

       24. On or around July 22, 2021, Plaintiff conducted an internet search for American

Residential Warranty and located Defendant’s website www.arwhome.com.

       25. On or around July 22, 2021, Plaintiff called the toll-free telephone number appearing

on www.arwhome.com to inquire about the call Plaintiff had received.

       26. During this communication, Plaintiff informed Defendant that he was on the national

DO-Not-Call list and asked why he was called.

       27. In response, Defendant’s representative stated that the call was made to promote

Defendant’s home warranty plans and confirmed that Plaintiff had no account or relationship with

Defendant.




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       28. During this communication, Defendant’s representative admitted that Defendant

generally has no idea who it is calling when it makes telephone solicitations.

       29. On August 12, 2021, Defendant sent a text message to the 5098 number, which

identified the sender as “Whitney with ARW Home” and identified the sender’s number as 415-

212-9786.

       30. This text message promoted Defendant’s home warranty plans and was a generic

message that did not refer to Plaintiff by name.

       31. Plaintiff did not respond.

       32. On August 12, 2021, Defendant sent another text message to the 5098 number, which

again identified the sender as “Whitney . . . from ARW Home” and again identified the sender’s

number as 415-212-9786.

       33. This text message promoted Defendant’s home warranty plans and was a generic

message that did not refer to Plaintiff by name.

       34. Plaintiff did not respond.

       35. On August 13, 2021, Defendant sent another text message to the 5098 number

identifying the sender’s phone number as 415-212-9786.

       36. This text message promoted Defendant’s home warranty plans, stated that Defendant

has “assisted homeowners all across the country,” and again did not refer to Plaintiff by name.

       37. Plaintiff did not respond.

       38. On August 16, 2021, Defendant sent another text message to the 5098 number, which

identified the sender as “Whitney . . . with ARW Home” and identified the sender’s phone number

as 415-212-9786.


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       39. This text message promoted Defendant’s home warranty plans and was a generic

message that did not refer to Plaintiff by name.

       40. Plaintiff did not respond.

       41. Plaintiff did not invite or provide permission for any of the telephone solicitations

addressed above.

       42. Plaintiff and Defendant did not have an established business relationship at the time

of any the telephone solicitations addressed above.

                              VI. CLASS ACTION ALLEGATIONS

       28. This action is brought on behalf of all the following class of similarly situated

individuals:

               (1) All persons in the United States (2) subscribing to a non-commercial telephone

               number (3) to which Defendant placed two or more calls promoting home

               warranties within any 12-month period since January 21, 2018 (4) and which had

               been registered on the national do-not-call list for at least 31 days prior to the first

               call.

       29. Excluded from the Class is Defendant, their legal representatives, assigns, and

successors, and any entity in which Defendant has a controlling interest. Also excluded from the

Class is the Judge to whom this case is assigned, the Judge’s immediate family, and Plaintiff’s

counsel and their employees. Plaintiff reserves the right to amend the above-stated class

definition based on facts learned in discovery.




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       30. Based on Defendant’s national scope, the generic nature of the communications

received, and Defendant’s admission that it often does not know who it is soliciting when it

places these calls, the Class is so numerous that joinder of all members is impractical.

       31. There are questions of law or fact common to the Class that predominate over any

issues involving only individual class members. Factual and/or legal issues common to each

class member include:

            a. Whether Defendant has established and implemented, with due care,

               reasonable practices and procedures to effectively prevent telephone

               solicitations to numbers on the National Do-Not-Call List

       b.      Whether the class members are entitled to treble damages based upon the

               knowing/willfulness of Defendant’s conduct; and

       c.      Whether Defendant should be enjoined from engaging in such conduct in

               the future.

       32. Plaintiff’s claim is typical of those of the members of the Class. Within the Class, all

claims are based on the same material facts and legal theories.

       33. Plaintiff will fairly and adequately protect the interests of the Class. He has retained

counsel experienced in handling actions involving unlawful practices under the TCPA and class

actions. Neither Plaintiff nor his counsel has any interest that might cause them not to vigorously

pursue this action.

       34. Certification of the Class under Fed. R. Civ. P. 23(b)(3) is appropriate because

            a. as shown above, common questions predominate over any individual questions

               affecting the class members


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             b. Further, a class action is superior to other available methods for the fair and efficient

                 adjudication of the controversy because the TCPA is not a fee shifting statute and,

                 given the small amount of recoverable damages available to each class member,

                 individual actions are not feasible.

          35. Certification of the Class under Rule 23(b)(2) of the Federal Rules of Civil Procedure

is also appropriate because Defendant has acted on grounds generally applicable to the Class,

thereby making injunctive or declaratory relief appropriate with respect to the Class as a whole.

          36. Plaintiff requests that the Class be certified as a hybrid class under Rule 23(b)(3) for

monetary damages, and pursuant to Rule 23(b)(2) for injunctive relief.

                                       COUNT I
      Telephone Solicitations to Numbers listed on the National Do-Not-Call Registry

          37. Plaintiff incorporates the allegations from all previous paragraphs as if fully set forth

herein.

          38. Defendant violated 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(c)(2) by initiating

multiple telephone solicitations within a 12-month period to residential telephone numbers despite

their registration on the National Do-Not-Call Registry.

          39. Defendant made these telephone solicitations to persons who had neither invited nor

gave permission for the calls, and with whom Defendant had no established business relationship.

          40. Defendant’s violations were negligent, willful, or knowing.


          WHEREFORE, Plaintiff requests that the Court enter the following relief

              a. An order certifying this case to proceed as a class action under Fed. R. Civ. Pro. 23;

              b. judgment against Defendant and for the Plaintiff and the proposed class, providing


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                           i. Statutory damages of $500 per call for each negligent violations of

                              the TCPA pursuant to 47 U.S.C. §227(c)(5);

                          ii. Statutory damages of $1,500 per call for each knowing or willful

                              violation of the TCPA pursuant to 47 U.S.C. §227(c)(5);

                          iii. Permanent injunction prohibit Defendant from calling telephone

                              numbers registered on the National Do-Not-Call List, without prior

                              express written consent from the called party.

           c. Reasonable attorney’s fees and costs to be awarded by the Court if a class wide

              judgment is entered; and

           d. Such further relief as this Court may deem appropriate.

                                          VII. JURY DEMAND

       Plaintiff demands trial by jury.



Dated: January 21, 2022

                                      Respectfully Submitted,

                                      /s/ Timothy J. Sostrin
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